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                      2   Rebecca L. Wilson (SBN 257613)                  GOVERNMENT CODE
                                                                          § 6103]
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                          Attorneys for Defendants
                      8   CITY OF SAN JUAN CAPISTRANO, J.R.
                      9
                          TORREZ, AND ALEJANDRA MOLINA

                 10                               UNITED STATES DISTRICT COURT
                 11                             CENTRAL DISTRICT OF CALIFORNIA
                 12
                          SCHUYLER LIFSCHULTZ; MYLES             Case No. 8:19-cv-01497-JVS-ADS
                 13       SACHS; and ASHBY ENTERPRISES,
                          LLC,                                   Assigned to
                 14                                              District Judge: Hon. James V. Selna
                                             Plaintiffs,         Courtroom: 10C
                 15
                                   v.                            Assigned Discovery:
                 16                                              Magistrate Judge: Autumn D. Spaeth
                          CITY OF SAN JUAN CAPISTRANO;
                 17       J.R. TORREZ, individually;             Discovery Document:
                          ALEJANDRA MOLINA, individually;        Referred to
                 18       and DOES 1 through 100, inclusive,     Magistrate Judge Autumn D. Spaeth
                 19                          Defendants.         DEFENDANTS’ NOTICE OF
                                                                 MOTION AND MOTION FOR
                 20                                              PROTECTIVE ORDER
                 21                                              Date:      July 15, 2020
                                                                 Time:      10:00 A.M.
                 22                                              Ctrm.:     6B, 6th Floor
                 23                                             Complaint Filed: August 2, 2019
                                                                Discovery Cut-Off: Oct. 1, 2020
                 24                                             Pre-Trial Conf.: January 4, 2021
                                                                Trial Date:     January 12, 2021_______
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K UTAK R OCK LLP
 ATTO RNEY S AT LAW
       IRVINE
                                                               -1-    8:19-cv-01497-JVS-ADS
                                   NOTICE OF MOTION AND MOTION FOR PROTECTIVE ORDER
                          4852-8806-9824.1
                Case 8:19-cv-01497-JVS-ADS Document 43 Filed 06/16/20 Page 2 of 2 Page ID #:391



                      1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                      2            PLEASE TAKE NOTICE that Defendants City of San Juan Capistrano, J.R.
                      3   Torrez, and Alejandra Molina (“Defendants”) will move for a protective order to
                      4   preclude Plaintiffs from questioning City employees J.R. Torrez and Alejandra
                      5   Molina at deposition on their personal and family financial condition until Plaintiffs
                      6   present at least a scintilla of evidence to support a punitive damages claim against
                      7   either of them.
                      8            Defendants’ Motion for Protective Order is based on this Notice of Motion,
                      9   the Joint Stipulation; the Declaration of Rebecca L. Wilson in Support of the
                 10       Motion and corresponding exhibits, the Declaration of Jason Moberly Caruso in
                 11       support of Plaintiffs’ Opposition to the Motion and corresponding exhibits, all
                 12       papers, pleadings, records, and files in this case; all matters of which judicial notice
                 13       may be taken; all supplemental memoranda which may be submitted pursuant to
                 14       Local Rule 37-2.3; and any arguments or evidence as may be presented to the Court
                 15       at or prior to a hearing on this Motion.
                 16

                 17
                          Dated: June 16, 2020                 KUTAK ROCK LLP
                 18

                 19
                                                               By: /s/ Rebecca L. Wilson
                 20                                              Edwin J. Richards
                                                                 Christopher D. Glos
                 21                                              Rebecca L. Wilson
                                                                 Attorneys for Defendants
                 22                                              CITY OF SAN JUAN CAPISTRANO,
                                                                 J.R. TORREZ, AND ALEJANDRA
                 23                                              MOLINA
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                                   NOTICE OF MOTION AND MOTION FOR PROTECTIVE ORDER
                          4852-8806-9824.1
